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                         UNITED STATES DISTRICT COURT

                           FOR THE DISTRICT OF IDAHO


  SIERRA CLUB,
                                                Case No. 1:24-cv-00169-DCN
         Plaintiff,
                                                ORDER
  v.

  CITY OF BOISE, an Idaho municipal
  corporation,

         Defendant.

       Before the Court is the parties’ Stipulation for 90-Day Stay Pursuant to Settlement

Agreement (“Stipulation”). Dkt. 45. Having reviewed the Stipulation, and good cause

appearing therefor,

       IT IS HEREBY ORDERED:

       1. The Stipulation (Dkt. 45) is APPROVED;

       2. All proceedings in this case are STAYED for 90 days, until August 19, 2025;

       3. The parties shall file a joint status report on August 19, 2025, advising the Court

           whether this matter will proceed or be dismissed.


                                                 DATED: May 22, 2025


                                                 _________________________
                                                 David C. Nye
                                                 Chief U.S. District Court Judge




ORDER – 1
